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IN THE UNITEI) sTATEs DISTRICT CoURT
FOR THE wEsTERN DISTRICT 0F TENNESSEIM§ JUN 28 PH 3= 29

 

WESTERN DIVISION
ROBE.;~. l n or ‘.:"O\ ;O
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UNITED STATES oF AMERICA,

Plaintiff,

2 Nl`ll` 30
AE OH'M

Criminal No. 04-20501-D

 

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ANTONIO STACKER, * §--4 m -
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Defendant. * m
MOTION TO CONTINUE

 

Cornes now the United States of America, by and through the United States Attorney for the
Western Distn'ct of Tennessee and his duly authorized Assistant, Katrina U. Earley, and would
respectfully move this Honorable Court to continue the trial in this matter from the current date of

Monday, July l 1-15, 2005. ln support of this motion, the Governrnent states the following:

l. A material witness in this case, Sgt. Robin Hulley, will be unavailable during the

July trial rotation.

In accordance with local rules, the undersigned has conferred With Randolph Alden,

Attorney for the Defendant, who has no objection to a continuance in this matter.

Based on the foregoing, the United States respectliilly moves this Honora`ole Court to

continue the trial in this matter.

    
    

MOTION GRANTE§
D : -r ' 05

BERNICE BOU|E DONALD
U. S. DISTRlCT JUDGE

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wlth H.tla 55 and!or 32rbl FRCrP on '

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Respectfully submitted,

TERRELL L. HARRIS

United States Attorney

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By:

 
  

Katrina U. Earley
Assistant United States Attorney
167 No. Main, Suite 800
Memphis, TN 38103

(901) 544-6742

(BPR# 019367)

CERTIFICATE OF SERVICE
I, Katrina U. Earley, Assistant United States Attorney for the Western District of Tennessee,
hereby certify that a true and exact copy of the foregoing MOTION has been mailed to to Mr.

Randolph Alden, Attorney for the defendant, 200 Jefferson, Suite 200, Memphis, Tennessee 38103.

lt
K'!t`tnna U. Earley
Assistant United States Attorney

This 28“' day of June, 2005.

    

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20501 Was distributed by faX, mail, or direct printing on
July l, 2005 to the parties listed.

 

 

Randolph W. Alden

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Honorable Bernice Donald
US DISTRICT COURT

